         Case 2:14-cv-06476-JFL Document 227 Filed 05/30/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHANE K. ENSLIN,               :                             CIVIL ACTION
                               :
         Plaintiff             :
                               :
     vs.                       :                             NO. 14-6476
                               :
                               :
THE COCA-COLA COMPANY, et al., :
                               :
         Defendants            :


                                           JUDGMENT

                 AND NOW, this 30th day of May, 2019, judgment is hereby entered in favor of
Defendants The Coca-Cola Company, Coca-Cola Refreshments USA, Inc., Keystone Coca-Cola
and Bottling and Distribution Corporation, Keystone Coca-Cola Bottling Company, Inc., and
Keystone Coca-Cola Bottling Corporation, and against Plaintiff Shane K. Enslin, in the amount
of $26,883.09.
                 The costs listed on the Defendants’ Bill of Costs (Docket No. 219) for pro hac
vice admission fees, totaling $280.00, are disallowed as they are not costs which may be taxed
pursuant to 28 U.S.C. § 1920.




                                                      KATE BARKMAN
                                                      Clerk of Court


                                              By:     s/ Terry Milano
                                                      Deputy Clerk
